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                            Attorneys for
                       10   JOSEPH DiNARDO
HAMRICK & EVANS, LLP




                       11                      UNITED STATES BANKRUPTCY COURT
                       12                       CENTRAL DISTRICT OF CALIFORNIA
                       13
                       14   In re                                          Case No.: 2:20-bk-21022-BR
                                                                           Adversary No,: 2:22-ap-01169-BR
                       15   GIRARDI KEESE,
                                                                           Chapter 7
                       16                Debtor,
                                                                           NOTICE OF APPEARANCE AND
                       17                                                  REQUEST FOR NOTICE
                       18
                       19
                       20           Hamrick & Evans, LLP, hereby enters his appearance on behalf of Joseph
                       21   DiNardo in the above-captioned matter, and hereby requests that Kenneth A.
                       22   Kotarski be place on the mailing list with a copy of all notices, all pleadings, orders
                       23   and all other papers that may be filled in this case or any cases consolidated
                       24   wherewith, to be sent to the following addresses:
                       25   ///
                       26   ///
                       27   ///
                       28   ///

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                                                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
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                       11
                            DATED: October 4, 2022                      HAMRICK & EVANS, LLP
                       12
                       13
                       14                                        By:______________________________
                                                                     KENNETH A. KOTARSKI
                       15                                            Attorneys for
                                                                     JOSEPH DiNARDO
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                                               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
